             Case 23-10831-MFW Doc 1071 Filed 03/06/24 Page 1 of 1
                       UNITED STATES BANKRUPTCY COURT
                           FOR DISTRICT OF DELAWARE

In re:                                                 Chapter 11

    LORDSTOWN MOTORS CORP., et al,                     Case No. 23-10831 (MFW)

                                 Debtors.              (Jointly Administered)


                 MOTION AND ORDER FOR ADMISSION PRO HAC VICE
        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for admission
pro hac vice of Kimberly Ross Clayson, Esquire, of Taft Stettinius & Hollister, LLP to represent
creditor, TESCA USA, Inc. in the above-captioned proceeding.

Dated: March 6, 2024                           BAYARD, P.A.
       Wilmington, Delaware
                                               /s/ Ericka F. Johnson
                                               Ericka F. Johnson (No. 5024)
                                               600 N. King Street, Suite 400
                                               Wilmington, Delaware 19801
                                               Telephone: (302) 655-5000
                                               E-mail: ejohnson@bayardlaw.com

           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 9010-1, I certify that I am eligible for admissions to this Court, am
admitted, practicing, and in good standing as a member of the Bar of the State of Michigan, and
submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the
preparation or course of this action. I also certify that I am generally familiar with this Court’s Local
Rules and with the Standing Order for District Court Fund revised 12/21/23. I further certify that
the annual fee of $50.00 has been paid to the Clerk of the Court for the District Court.

Dated: March 6, 2024                            /s/ Kimberly Ross Clayson
                                               Kimberly Ross Clayson
                                               TAFT STETTINIUS & HOLLISTER, LLP
                                               27777 Franklin Road, Suite 2500
                                               Southfield, Michigan 48034
                                               Phone: (248) 727-1636
                                               Email: kclayson@taftlaw.com

                      ORDER GRANTING MOTION
IT IS HEREBY ORDERED that counsel’s Motion for Admission pro hac vice is granted.
